             Case 2:08-cr-00103-LKK Document 157 Filed 04/22/09 Page 1 of 1


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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,       ) No. CR-S 08-103-LKK
                                     )
13                  Plaintiff,       ) ORDER
                                     )
14        v.                         )
                                     )
15   JOHN PHILLIP PRUITT, and        )
     DARRYL ANTHONY BERG.            )
16                                   )
                    Defendants.      )
17   _______________________________ )
18         For the reasons set forth in defendants’ attached application, the Court hereby grants
19   defendants’ request to file a CD with an audio file as Exhibit I to defendants’ joint motion
20   to dismiss.
21         Dated: April 21, 2009
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